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                                              GARVEY BALLOU
                                                   A PROFESSIONAL CORPORATION
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                                                                                OUR FILE NO.              131.25602


                                                      May 21, 2021

          VIA EFILE

          Clerk of Court
          United States District Court
          Clarkson S. Fisher Building & U.S. Courthouse
          402 East State Street
          Trenton, NJ 08608

                        Re:   Steve McLeod v Costco
                              Docket No.: L901-20

          Dear Sir/Madam:

                Please be advised that the undersigned has been retained to represent the
          defendant, Costco Wholesale Corporation in connection with the above referenced
          matter.

                In that regard, enclosed herein you will find defendant’s Notice of
          Removal.

                        If you have any questions, please do not hesitate to contact me.

                        Thank you for your kind attention.



                                                         Very truly yours,


                                                         ROBERT A. BALLOU
                                                         ROBERT A. BALLOU, JR
                                                         RBALLOU@COURTHOUSELANE.COM

          RAB/dg
          cc:    Lisikiewicz/Helen - Gallagher Bassett (1) -
                 Steve McLeod, pro se
